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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


    FELICIA KELSO,

                     Plaintiff,

    v.                                    Civ. Action No. 19-3864 (EGS/ZMF)

    TOM VILSACK, 1 Secretary, U.S.
    Department of Agriculture

                     Defendant.


                            MEMORANDUM OPINION

         Plaintiff Felicia Kelso (“Ms. Kelso” or “Plaintiff”) brings

this lawsuit against Tom Vilsack, Secretary of the U.S.

Department of Agriculture (“Defendant”) alleging discrimination,

retaliation, and a hostile work environment in violation of

Title VII of the Civil Rights Act (“Title VII”), Section 501 of

the Rehabilitation Act (“Rehabilitation Act”), and the Age

Discrimination in Employment Act of 1967 (“ADEA”). See Compl.,

ECF No. 1. 2 On October 13, 2020, this Court referred the case to

a Magistrate Judge for full case management, including the

preparation of a report and recommendation on dispositive


1 Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure,
the current Secretary of the U.S. Department of Agriculture, Tom
Vilsack, is substituted as Defendant for the former Secretary of
the U.S. Department of Agriculture, Sonny Perdue. See Fed. R.
Civ. P. 25(d).
2 When citing electronic filings throughout this opinion, the

Court cites to the ECF header page number, not the original page
number of the filed document.


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motions pursuant to Local Civil Rule 72.3. See Minute Order

(Oct. 13, 2020).

      Pending before the Court is Defendant’s Motion to Dismiss

Pursuant to Rule 12(b)(6), or in the alternative, Motion for

Summary Judgment Pursuant to Rule 56(a), ECF No. 9. 3 Magistrate

Judge Faruqui issued a Report and Recommendation (“R. & R.”)

recommending that this Court grant Defendant’s Motion to

Dismiss. See R. & R., ECF No. 19. Ms. Kelso raises several

objections to Magistrate Judge Faruqui’s R. & R. See Pl.’s Obj.

to Magistrate Judge’s R. & R. (“Pl.’s Objs.”), ECF No. 20.

      Upon careful consideration of the R. & R., the objections

and opposition thereto, the supplemental briefing and applicable

law, and the entire record herein, the Court ADOPTS IN PART the

R. & R., ECF No. 19; and GRANTS IN PART and DENIES IN PART

Defendant’s Motion to Dismiss, ECF No. 9.




3 The Court declines to convert Defendant’s Motion to Dismiss
into a motion for summary judgment. Defendant does not provide
any authority asserting that the Court must, and the Court is
able to adjudicate the motion to dismiss based on the pleadings
and attachments thereto.


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    I.     Background

           A. Factual Background 4

         This section is largely taken from Magistrate Judge

Faruqui’s R. & R. to which Ms. Kelso has articulated no

objection. See generally Pl.’s Objs., ECF No. 20.

         In March 2013, the United States Forest Service hired Ms.

Kelso, an African American female over the age of forty, as an

Executive Assistant/Staff Assistant in its Office of Human

Resources Management. Compl., ECF No. 1 ¶ 10; see Def.’s Mot. to

Dismiss (“Def.’s MTD”), ECF No. 9 at 1. As a military veteran

who suffers from Post-Traumatic Stress Disorder (“PTSD”),

depression, anxiety, chronic migraines, and lumbar strain, Ms.

Kelso was hired as a “30% disabled compensable veteran.” Compl.,

ECF No. 1 ¶¶ 6, 11-12. Ms. Kelso maintained her employment at

the agency until February 2015. See Def.’s MTD, ECF No. 9 at 1.

         From March 2013 to January 2014, Ms. Kelso’s schedule

consisted of four 10-hour days per week, during which time she

was “fully successful.” Compl., ECF No.1 ¶ 16, 18. Ms. Kelso

suffered a back injury while at work on January 8, 2014. See id.

¶ 25.




4 The Court assumes the facts alleged in the complaint to be true
for the purposes of deciding this motion and construes them in
Ms. Kelso’s favor. See Baird v. Gotbaum, 792 F.3d 166, 169 n.2
(D.C. Cir. 2015).


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              1. Requests for Leave Associated with Back
                 Injury

     After her back injury, Ms. Kelso was on medical leave until

March 31, 2014. See id. ¶ 26. Her doctor indicated that she was

to be on leave until March 24, 2024, and she should receive

“reasonable accommodations” upon her return and until April 7,

2014. Id. ¶ 29. Ms. Kelso’s doctor also recommended that she

work remotely and only for four hours per day. Id. Upon her

return, Ms. Kelso requested her start time be adjusted to 7:15

a.m. See id. ¶ 36. Ms. Kelso’s doctor’s note did not account for

her leave between March 24 and 31, 2014. Id. ¶¶ 29, 34. After

being warned that she would be charge Absent Without Leave

(“AWOL”) for this time, Ms. Kelso supplied Defendant with

documentation excusing this absence. See id. ¶ 35.

     On April 7, 2014, Defendant issued a Letter of Instruction

(“LOI”) to Ms. Kelso, requiring that she “adhere to normal leave

procedures” by submitting a request for leave in advance or

within a reasonable time if there was an emergency or unplanned

sick leave. See id. ¶ 38. The LOI also denied her request to

telework full-time, id. ¶ 39; and approved her requested

schedule of 7:15 a.m. to 11:15 a.m., Def.’s MTD, ECF No. 9 at

22. However, Ms. Kelso asserts that on April 9, 2014, Defendant

denied her requested start time of 7:15 a.m. and told her to




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choose a start time between 8:00 a.m. and 9:00 a.m. See Compl.,

ECF No. 1 ¶ 42.

              2. Request for “Stress Break”

     On April 28, 2014, Ms. Kelso requested leave from May 12 to

May 14, 2014, for a “stress break.” Id. ¶ 43. Mary Beth Lepore

(“Ms. Lepore”), Ms. Kelso’s supervisor, denied this request

because she was traveling and needed Ms. Kelso in the office

those days. See id. ¶ 44.

     However, on May 12 and 13, 2024, Ms. Kelso was “genuinely

sick” and informed an Administrative Support Assistant—who

relayed the message to her supervisors—that she would be taking

leave. Id. ¶ 45. Ms. Kelso was unable to contact her supervisors

directly because her supervisors were not in the D.C. Office,

and she was having “connectivity issues.” Id. ¶ 46. Ms. Kelso

believed this was an acceptable way to call in sick in

“emergency” situations. Id. ¶¶ 48, 51. Because she did not

follow the proper procedure for calling in sick—and did not have

advance leave—Ms. Lepore charged Ms. Kelso as AWOL for these

days. Id. ¶ 47. Ms. Kelso was charged AWOL for two, 8-hour days

even though she was working 4-hour days, id. ¶ 49; however,

Defendant responds that it corrected this error. Def.’s MTD, ECF

No. 9 at 4 n.6.




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              3. Letter of Reprimand

     On May 19, 2014, Ms. Lepore issued Ms. Kelso a Letter of

Reprimand (“LOR”), alleging that she failed to complete “some”

work assignments since 2013. See Compl., ECF No. 1 ¶ 54.

              4. Change of Job Duties

     From May 21 to November 30, 2014, Ms. Kelso was on an

extended medical leave. Id. ¶ 57. To fill Ms. Kelso’s absence,

Ms. Lepore hired Nicole Lovering (“Ms. Lovering”) in November

2014. Id. ¶ 58. Ms. Lovering is a white woman in her thirties,

and she has no known disabilities. Id. When Ms. Kelso returned

to work, she began reporting to Mario Troncoso (“Mr. Troncoso”)

in the Albuquerque office. Id. ¶ 59. In early December 2014, Ms.

Kelso learned that Ms. Lovering would be handling Ms. Lepore’s

calendar and travel arrangements and would be the point of

contact for Human Resources in Washington, D.C., all duties that

she held prior to her extended medical leave. Id. ¶ 67. Ms.

Lepore reassigned these duties because it was “very important

that there be consistency and someone daily, routinely handling

the most critical duties.” Id. ¶ 65. Ms. Kelso asserts that

these were duties she could have continued to perform remotely.

Id. ¶ 66. Ms. Kelso alleges that her duties were reduced to

making copies, dropping off packets for signatures, and

researching a menu for a team retreat. Id. ¶ 69.




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              5. Request for Reasonable Accommodations from Mr.
                 Troncoso

     Ms. Kelso alleges that Defendant denied several of her

requests for reasonable accommodations for her disability.

First, at the end of her extended medical leave, Mr. Troncoso

denied her request to return to the hours she worked prior to

her January 2014 back injury. Id. ¶ 60. Mr. Troncoso reasoned

that her schedule had to “mimic [Ms.] Lepore’s.” Id.

     Next, Ms. Kelso requested medical leave for an appointment

on December 12, 2014. Id. ¶ 71. In response, Mr. Troncoso

inquired whether the medical appointment was for her work

injury, whether she would need an appointment every week, if

there was a medical update from her last visit, and if there

were any changes from the doctor to her work conditions. Id. ¶

73-75. Thereafter, on December 22, 2014, Ms. Kelso requested

eighty hours of advanced sick leave for “rehabilitation and

recovery medical treatment.” Id. ¶¶ 81, 89. When she did not get

a response from Mr. Troncoso, Ms. Kelso re-sent her request on

January 12, 2015. Id. ¶ 90. Mr. Troncoso agreed to “move [her

request] along,” but ultimately “did not recommend approval of

Plaintiff’s advance sick leave request.” Id. ¶¶ 90, 93. Ms.

Kelso took Leave Without Pay (“LWOP”) for this time. Id. ¶ 92.

     On a different occasion in late December 2014, Ms. Kelso

requested sick leave for a migraine. See id. ¶ 83. Mr. Troncoso



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responded by “remind[ing Plaintiff] of the call-in procedures”

to properly request leave. Id. Ms. Kelso alleges that Mr.

Troncoso would “become angry” when she took time off work, even

when he knew about her appointments. Id. ¶ 84.

              6. Requests to Telework for Inclement Weather

     In January 2015, Ms. Kelso requested to telework three

times due to inclement weather. See id. ¶¶ 103, 111, 118. On

January 14, 2015, Mr. Troncoso denied Ms. Kelso’s telework

request. Again, on January 26, 2015, Mr. Troncoso denied Ms.

Kelso’s telework request and reminded her that telework was only

permissible when there were tasks that could be completed

remotely. Id. ¶¶ 107-08. Finally, on January 27, 2015, Mr.

Troncoso denied Ms. Kelso’s third telework request due to

inclement weather. Id. ¶ 111. Mr. Troncoso reiterated that she

did not have an “ad hoc” telework agreement, and once she

completed her outstanding tasks, he would consider approving her

request. Id. ¶ 112. On two out of three of these dates, Mr.

Troncoso approved similar requests to telework made by Ms.

Lovering. See id. ¶¶ 104, 106, 110.

              7. Interpersonal Experiences with Ms. Lepore and
                 Mr. Troncoso

     After she returned to work in December 2014, Ms. Kelso

claims that “[Ms.] Lepore said no more than 30 words to [her]

and avoided interactions with her.” Id. ¶ 63. Additionally, Ms.



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Kelso alleges that Ms. Lepore ignored her greetings and made her

feel “ostracized, disliked, stressed, and anxious.” Id. ¶ 64.

Ms. Kelso asserts that the harassment was so “severe and

pervasive” that it caused her to take leave from December 5 to

12, 2014. Id. ¶ 70.

     Ms. Kelso puts forward several examples of the alleged

harassment. During a meeting on January 12, 2015, Ms. Kelso

alleges that Mr. Troncoso “belitt[ed] her” by mocking her

response to a question. Id. ¶ 95. Mr. Troncoso then told Ms.

Kelso that her body language indicated she was “checked out,”

which Ms. Kelso felt was “a comment about her depression and

PTSD.” Id. ¶ 96. Separately, on January 21, 2015, Ms. Kelso felt

humiliated when Ms. Lepore sent an email to her, Ms. Lovering,

Mr. Troncoso, and others, stating that her work did not “make

sense” and was “not helpful.” Id. ¶ 118-19.

     On January 28, 2015, Ms. Lepore emailed Ms. Kelso and Mr.

Troncoso alleging that Ms. Kelso had poor job performance and

behavior and stating that her “discontent and sullen” appearance

“made her colleagues feel uncomfortable.” Id. ¶ 120. The email

further expressed concern over Ms. Kelso’s attendance and

reiterated that she was expected to be in the office to receive

and deliver documents. Id. ¶ 120.

     On February 2, 2015, Ms. Kelso went on leave “due to

exacerbation of her PTSD, anxiety, [and] depression,” which Ms.


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Kelso claims was caused by “Defendant’s ongoing discriminatory

and retaliatory harassment.” Id. ¶ 121.

        B. Procedural Background

     Pursuant to Local Rule 72.2, this case was referred to

Magistrate Judge Zia M. Faruqui, up to but excluding trial,

including the preparation of a R. & R. with respect to any

potentially dispositive motions. See Minute Order (Jan. 7,

2019). Magistrate Judge Faruqui issued an R. & R. recommending

that this Court grant Defendant’s Motion to Dismiss. See R. &

R., ECF No. 19. Plaintiff has raised Objections to Magistrate

Judge Faruqui’s R. & R, see Pl.’s Objs., ECF No. 20; to which

Defendant has responded, see Def.’s Opp’n to Pl.’s Objs. to R. &

R. (“Def.’s Opp’n”), ECF No. 22. While the objections were

pending, the parties moved to file supplemental briefing because

of intervening authority from the Court of Appeals for the

District of Columbia Circuit (“D.C. Circuit”). See Mot. for

Leave to File Suppl. Briefing, ECF No. 25. The objections are

now fully briefed, including supplemental briefing, and ripe for

adjudication.

  II.   Legal Standard

        A. Objections to a Magistrate Judge's Report and
           Recommendation

     Pursuant to Federal Rule of Civil Procedure 72(b), a party

may file specific written objections once a magistrate judge has



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entered a recommended disposition. Fed. R. Civ. P. 72(b)(1)–(2).

A district court “may accept, reject or modify the recommended

disposition.” Fed. R. Civ. P. 72(b)(3); see also 28 U.S.C. §

636(b)(1) (“A judge of the court may accept, reject, or modify,

in whole or in part, the findings or recommendations made by the

magistrate judge.”). A district court “must determine de novo

any part of the magistrate judge's disposition that has been

properly objected to.” Fed. R. Civ. P. 72(b)(3). “If, however,

the party makes only conclusory or general objections, or simply

reiterates his original arguments, the Court reviews the [R. &

R.] only for clear error.” Houlahan v. Brown, 979 F. Supp. 2d

86, 88 (D.D.C. 2013) (citation omitted). “Under the clearly

erroneous standard, the magistrate judge's decision is entitled

to great deference” and “is clearly erroneous only if on the

entire evidence the court is left with the definite and firm

conviction that a mistake has been committed.” Buie v. D.C., No.

16-1920, 2019 WL 4345712, at *3 (D.D.C. Sept. 12, 2019) (citing

Graham v. Mukasey, 608 F. Supp. 2d 50, 52 (D.D.C. 2009))

(internal quotation marks omitted).

     Objections must “specifically identify the portions of the

proposed findings and recommendations to which objection is made

and the basis for objection.” LCvR 72.3(b). “[O]bjections which

merely rehash an argument presented to and considered by the

magistrate judge are not ‘properly objected to’ and are


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therefore not entitled to de novo review.” Shurtleff v. EPA, 991

F. Supp. 2d 1, 8 (D.D.C. 2013) (quoting Morgan v. Astrue, No.

08-2133, 2009 WL 3541001, at *3 (E.D. Pa. Oct. 30, 2009)).

        B. Rule 12(b)(6): Failure to State a Claim

     A motion to dismiss pursuant to Federal Rule of Civil

Procedure 12(b)(6) tests the legal sufficiency of a complaint.

Browning v. Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002). A

complaint must contain “a short and plain statement of the claim

showing that the pleader is entitled to relief, in order to give

the defendant fair notice of what the . . . claim is and the

grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 555, (2007) (internal quotation marks omitted).

     Despite this liberal pleading standard, to survive a motion

to dismiss, a complaint “must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible

on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(internal quotation marks omitted). “In determining whether a

complaint fails to state a claim, [the Court] may consider only

the facts alleged in the complaint, any documents either

attached to or incorporated in the complaint and matters of

which [the Court] may take judicial notice.” EEOC v. St. Francis

Xavier Parochial Schl., 117 F.3d 621, 624 (D.C. Cir. 1997). A

claim is facially plausible when the facts pled in the complaint

allow the court to “draw the reasonable inference that the


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defendant is liable for the misconduct alleged.” Id. The

standard does not amount to a “probability requirement,” but it

does require more than a “sheer possibility that a defendant has

acted unlawfully.” Id.

     “[W]hen ruling on a defendant's motion to dismiss [pursuant

to Rule 12(b)(6)], a judge must accept as true all of the

factual allegations contained in the complaint.” Atherton v.

D.C. Office of the Mayor, 567 F.3d 672, 681 (D.C. Cir. 2009)

(internal quotation marks omitted). In addition, the court must

give the plaintiff the “benefit of all inferences that can be

derived from the facts alleged.” Kowal v. MCI Commc'ns Corp., 16

F.3d 1271, 1276 (D.C. Cir. 1994).

  III. Analysis

     Magistrate Judge Faruqui categorized Ms. Kelso’s claims as

follows: (1) discrimination based on race, disability, and age

under Title VII, the Rehabilitation Act, and the ADEA; (2)

retaliation under Title VII and the Rehabilitation Act; (3)

failure to accommodate Ms. Kelso’s disability under the

Rehabilitation Act; and (4) hostile work environment under Title

VII and the Rehabilitation Act. See R. &. R, ECF No. 19 at 8

(citing Compl., ECF No. 1 ¶¶ 126–146. Ms. Kelso articulated no

objection to this categorization. See generally Pl.’s Objs., ECF

No. 20. Magistrate Judge Faruqui recommended granting

Defendant’s Motion to Dismiss in its entirety. See R. & R., ECF


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No. 19. The Court examines Ms. Kelso’s objections to this

recommendation below.

          A. Discrimination Under Title VII, the Rehabilitation
             Act, and the ADEA

       “Under Title VII, the ADEA, and the Rehabilitation Act, the

two essential elements of a discrimination claim are that (i)

the plaintiff suffered an adverse employment action (ii) because

of the plaintiff’s race, color, religion, sex, national origin,

age, or disability.” Baloch v. Kempthorne, 550 F.3d 1191, 1196

(D.C. Cir. 2008). Ms. Kelso’s discrimination claim arises from

six alleged acts by Defendant: (1) denial of telework; (2)

denial of her preferred schedule; (3) a charge of AWOL; (4)

letters of instruction and reprimand; (5) reassignment of duties

to Ms. Lovering; and (6) interpersonal issues with supervisors.

See R. & R., ECF No. 19 at 10–14.

       The R. & R. recommended dismissing Ms. Kelso’s

discrimination claims largely due to her failure to allege any

“objectively tangible harm” resulting from the alleged adverse

employment actions. Id. at 10–14. 5 After the R. & R. was issued—

and after the parties filed their objections thereto—the D.C.

Circuit set aside its prior precedent requiring an “objectively

tangible harm” to state a claim for discrimination. See


5 Finding no adverse employment action, the R. & R. did not reach
the question of whether the alleged incidents were “on behalf
of” Plaintiff’s protected status.


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Chambers, 35 F.4th at 872. In Chambers, the D.C. Circuit held

that a plaintiff states a plausible Title VII claim when she

alleges that an employer discriminated against her with respect

to the terms, conditions, or privileges of her employment. Id.

(emphasizing the prohibition of any discrimination, even “garden

variety” discrimination, is “more consistent with the statute’s

‘intent to strike at the entire spectrum of disparate treatment

. . . in employment’”). 6 In light of Chambers, this Court granted

the parties’ joint motion for leave to file supplemental

briefing in connection with the objections and responses to the

R. & R. See Minute Order (Sept. 12, 2022); see also Def.’s

Supplemental Briefing (“Def.’s Supp.”), ECF No. 27; Pl.’s

Supplemental Briefing (“Pl.’s Supp.”), ECF No. 29.

       As noted above, the R. & R. concluded that none of the six

alleged actions constituted an adverse employment action

sufficient to state a claim for discrimination. Ms. Kelso

objects to this finding for four of the alleged incidents,


6 Notably, earlier this year, the Supreme Court clarified the
standard for when an employer’s action constitutes an adverse
employment action under Title VII. See Muldrow v. City of St.
Louis, 601 U.S. 346 (2024). The Court explained that a plaintiff
“must show some harm” related to the terms and conditions of her
employment, but “need not show that the injury satisfies a
significance test.” Id. at 350. Courts in this Circuit have
interpreted this decision as “largely consistent” with the D.C.
Circuit’s decision in Chambers. See Turner v. Buttigieg, No. 23-
1665, 2024 WL 4346332, at *7 (D.D.C. Sept. 30, 2024);
Hollingsworth v. Vilsack, No. 23-2427, 2024 WL 4332118, at *8
(D.D.C. Sept. 27, 2024).

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including: (1) issuance of the Letter of Instruction and Letter

of Reprimand; (2) charge of AWOL; (3) removal of duties; and (4)

the denial of advanced sick leave. 7 Ms. Kelso contends that under

Chambers, the failure to allege a tangible harm is no longer

grounds for dismissal of a discrimination claim. Pl.’s Supp.,

ECF No. 29 at 1–2. Consequently, to the extent the R. & R.

concluded that there was no adverse employment action solely

because she failed to allege a tangible harm, that conclusion

must be rejected. 8 The Court addresses Ms. Kelso’s objections,

focusing on whether the remaining alleged acts by Defendant meet

“the broad definition of ‘terms, conditions, or privileges [of

employment]’ intended by Congress, while also being mindful that

ordinary workplace unpleasantness falls outside of Title VII.”




7 Ms. Kelso does not object to the R. & R.’s conclusion that the
denial of telework, denial of her preferred schedule, and the
interpersonal issues do not constitute adverse employment
actions. See Pl.’s Objs., ECF No. 20. Nor does Plaintiff’s
supplemental brief regarding Chambers argue that Chambers
requires these claims to survive a motion to dismiss. See Pl.’s
Supp., ECF No. 29. After reviewing the R. & R. for clear error,
the Court concludes that even under Chambers, the remaining
three incidents do not constitute adverse employment actions.
8 Ms. Kelso’s initial objections argued that Magistrate Judge

Faruqui made improper “findings of fact.” Pl.’s Objs., ECF No.
20 at 4–8. The Court dismisses this objection as to each of the
alleged incidents. Magistrate Judge Faruqui did not make
“findings of fact” in the R. & R. Rather, he evaluated whether
the facts alleged in the complaint, and the reasonable
inferences therefrom, were sufficient to allege an adverse
employment action. See R. & R., ECF No. 19 at 11–14.


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Bell v. Fudge, No. 20-2209, 2022 WL 4534603, at *4 (D.D.C. Sept.

28, 2022).

                 1. Letter of Instruction & Letter of Reprimand

       The R. & R. concluded that the issuance of the LOI and

Letter of Reprimand (“LOR”), do not constitute adverse

employment actions because Ms. Kelso does not allege that the

letters “resulted in any financial harm or further disciplinary

action” or “contained abusive language.” R. & R., ECF No. 19 at

12–13. Ms. Kelso argues that the letters affect the terms,

conditions, or privileges of her employment because if she

failed to comply with the instructions in the LOI or the

performance plan in the LOR, her employment with Defendant could

be at risk. See Pl.’s Supp., ECF No. 29 at 2.

       Here, the letters have been incorporated by reference into

the Complaint. 9 The LOI, issued to Ms. Kelso on April 3, 2014,

denied her request for full-time telework and “stated Plaintiff

must adhere to normal leave procedures by submitting a request

for approval in advance . . . and within a reasonable time upon




9 The Court may consider these documents because they are plainly
referenced in the Complaint and Ms. Kelso necessarily relies on
them even though Defendant, rather than Ms. Kelso, produced the
documents in the materials attached to its Motion to
Dismiss/Motion for Summary Judgment. See Gebretsadike v.
Travelers Home & Marine Ins., 103 F. Supp. 3d 78, 82 (D.D.C.
2015). Furthermore, the Court may consider the documents without
converting the motion to one for summary judgment. Gross v.
Wright, 185 F. Supp. 3d 39, 48 (D.D.C. 2016).


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return to duty in any emergency or unplanned situations

requiring sick leave.” Compl., ECF No. 1 ¶¶ 38–39; see Decl. of

Christian Pagán (“Pagán Decl.), Ex. A, ECF No. 9-2. Further, the

LOI made clear that Ms. Kelso’s failure to comply with these

instructions could lead “to disciplinary action up to and

including [her] removal from the Federal Service.” Ex. A, ECF

No. 9-2 at 25. The LOR, issued on May 19, 2014, addressed

allegedly incomplete work assignments from December 2013. Id. at

12–13. 10 As with the LOI, the LOR stated: “This reprimand may be

counted as a prior offense in determining the appropriate

penalty for any future offense. Such an offense may result in

more severe penalty, up to and including your removal from

Federal Service.” Id. at 12.

        The Court concludes that the letters issued to Ms. Kelso do

not constitute adverse employment actions. First, Ms. Kelso

cites to no authority supporting her argument that letters of

this sort arise to an adverse employment action in a

discrimination claim. Rather, she points to cases concerning

whether “letters of reprimand [were] sufficiently adverse to

support the plaintiff’s retaliation claims.” Powell v. Lockhart,

629 F. Supp. 2d 23, 39 (D.D.C. 2009).




10It is appropriate for the Court to consider this document for
the same reason as explained supra n.8.


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     While Ms. Kelso is correct that “there is no categorical

prohibition on the letter of reprimand constituting an adverse

employment action,” see Bell, 2022 WL 4534603, at *6; the court

in Baloch found a similar letter not “materially adverse”—a less

stringent standard than adverse employment action—to plausibly

allege a retaliation claim. 550 F.3d at 1199 (noting the letter

merely contained “job-related constructive criticism”). The

letters given to Ms. Kelso contain similar “job-related

constructive criticism,” including missed assignments and

information regarding Defendant’s leave policies. Ex. A, ECF No.

9-2 at 12–13, 25. While the letters indicate that a failure to

comply could result in Ms. Kelso’s termination, the issuance of

the letters did not affect any of the terms, conditions, or

privileges of Ms. Kelso’s employment. Simply put, nothing in the

letters changed the “what, where, or when” of her work with

Defendant. See, e.g., Muldrow, 601 U.S. at 354. Therefore, this

incident fails to allege an adverse employment action.

               2. AWOL Charge

     Ms. Kelso alleges that she was discriminated against when

Defendant charged her with AWOL for two days of work—thereby

losing sixteen hours of pay—because she “failed to follow

[appropriate] procedures” for calling in sick. Compl., ECF No. 1




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¶¶ 47–48. 11 Magistrate Judge Faruqui concluded that the charge of

AWOL did not amount to an adverse employment action because Ms.

Kelso failed to plead any “objectively tangible harm” associated

with the AWOL charge. R. & R., ECF No. 19 at 11–12. Again, Ms.

Kelso argues that Chambers excuses her from the obligation to

submit “allegations of concrete or tangible harm.” Pl.’s Supp.,

ECF No. 29 at 2. In response, Defendant merely calls Ms. Kelso’s

allegation that she was discriminatorily charged AWOL “a closer

call,” and argues that the AWOL charge did not amount to a

“serious hardship.” Def.’s Supp., ECF No. 27 at 4.

        The Court agrees with Ms. Kelso and concludes that she has

sufficiently alleged that the charge of AWOL affected the terms,

conditions, or privileges of her employment such that it

constitutes an adverse employment action. Charging Ms. Kelso

with AWOL affected her ability to utilize her sick leave and

affected her pay, clearly altering the terms and privileges of

her employment. See Bell, 2022 WL 4534603, at *5 (concluding

that compensation and vacation time are terms and conditions of

employment). Contrary to Defendant’s argument, Ms. Kelso is not

required to show any “serious hardship” stemming from this


11Ms. Kelso also alleges that the “AWOL charges were in excess
since Plaintiff was only working 4-hour days totaling 8 hours
instead of 16 hours.” Compl., ECF No. 1 ¶ 49. Defendant notes
that the incorrect AWOL charge was later adjusted; however, for
the purpose of Defendant’s motion to dismiss, the Court takes
Ms. Kelso’s allegation of sixteen AWOL hours as true.


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incident–the change in privilege is harm enough in itself. See

Muldrow, 601 U.S. at 355 (“To demand ‘significance’ is to add

words—and significant words, as it were—to the statue Congress

enacted. It is to impose a new requirement on a Title VII

claimant, so that the law applied demands something more of her

than the law as written.”); Chambers, 35 F.4th at 872. To the

extent Defendant is arguing that Ms. Kelso’s claims are de

minimis because Ms. Kelso was only charged as AWOL for two days,

the Court is unpersuaded. A discriminatory denial of the use of

an employee’s benefits and loss of pay, no matter how

significant, is clearly the type of harm meant to be protected

by Title VII. See Chambers, 35 F.4th at 875. 12

        To survive a motion to dismiss, however, a plaintiff must

also sufficiently allege that the adverse action was taken

because of the plaintiff’s protected status. See Baloch, 550

F.3d at 1196. Defendant asserts that Ms. Kelso’s AWOL claim

still fails because Ms. Kelso failed to allege a connection

between the charge of AWOL and her disability, age, or race. See

Def.’s Supp., ECF No. 27 at 4. The Court disagrees.

        “One way that a plaintiff can allege a causal connection is

by showing that she was treated differently from similarly




12To the extent Muldrow is interpreted to be a more stringent
test than the one set out in Chambers, Ms. Kelso’s loss of pay
clearly meet Muldrow’s “some harm” requirement.


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situated employees who are not part of the protected class.”

Tolores Homes v. Austin, No. 2-2415, 2024 WL 4345829, at *6

(D.D.C. Sept. 30, 2024) (quoting Brown v. Sessoms, 774 F.3d

1016, 1022 (D.C. Cir. 2014)) (internal quotations omitted);

Chambers, 35 F.4th at 874 (“Discrimination refers to

differential treatment.”). Ms. Kelso alleges that there were

three similarly situated employees, none of whom were

“black/African-American, disabled, or engaged in prior protected

activities.” Compl., ECF No. 1 ¶¶ 23–24. Further, she alleges

that she was the only employee charged with AWOL during the

relevant period, and “it was accepted for employees to call-in

and ask another employee to connect with their supervisor on

that employee’s behalf to request leave”—just as Ms. Kelso

allegedly called in sick for the two days she was charged AWOL.

Id. ¶¶ 51–52. If similarly situated employees called in sick in

the same manner and were not charged AWOL, it is reasonable to

infer that Ms. Kelso was charged AWOL due to her race, age, or

disability. Accordingly, Ms. Kelso’s allegations of

discrimination based on her AWOL charge survive Defendant’s

Motion to Dismiss.

               3. Removal of Duties

     Next, Ms. Kelso claims that Defendant discriminated against

her when Ms. Lepore reassigned some of her main duties to

another employee. Id. ¶¶ 65–69. Magistrate Judge Faruqui


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concluded that this action did not state an adverse employment

action because Ms. Kelso failed to allege that the change in

duties resulted in “a change in pay, a reduction in grade level,

a loss of benefits, or a change of job title.” R. & R., ECF No.

19 at 13. Before Chambers, those were the exact changes that

courts looked for when examining whether a reduction in

responsibilities was an adverse employment action. See, e.g.,

Gasser v. Ramsey, 125 F. Supp. 2d 1, 5 (D.D.C. 2000) (concluding

that the plaintiff adequately stated an adverse employment

action where plaintiff became ineligible for overtime pay upon

being transferred to a new position).

     Nonetheless, the removal of Ms. Kelso’s main duties

represents a change in the “what” included in the terms or

conditions of her employment, constituting an adverse employment

action. See Liu v. Georgetown Univ., No. 22-157, 2022 WL

2452611, at *5 (D.D.C. July 6, 2022) (concluding that the denial

of the opportunity to present research constitutes a “privilege”

of employment). Moreover, it is entirely plausible, and

reasonable to infer from the Complaint, that Ms. Kelso

experienced “some harm” from the removal of duties, including a

denial of growth in her role, a loss of prestige, or the

potential to be looked over for future employment opportunities.

Compl., ECF No. 1 ¶¶ 65–69. Requiring Ms. Kelso to allege a

“significant” injury would be beyond what Title VII requires.


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See Muldrow, 601 U.S. at 355. That this reassignment of duties

did not change her title or tangible benefits cannot preclude a

claim under Title VII.

     Ms. Kelso also sufficiently alleges that the removal was

because of her disability. First, she alleges her duties were

removed “because it was very important that there be consistency

and someone daily, routinely handling the most critical duties,”

and they were reassigned to another employee who Ms. Kelso

alleges did not have a disability and was not a person of color.

Compl., ECF No. 1 ¶¶ 23–24, 65. Moreover, given Ms. Kelso’s

change in work schedule due to her disability, it is reasonable

to infer that Defendant’s decision to remove the duties was, at

least in part, due to her inability to be in the office every

day due to her disability. Accordingly, this claim survives

Defendant’s Motion to Dismiss.

               4. Advanced Sick Leave

     On December 22, 2014, Ms. Kelso requested “80 hours of

advanced sick leave for rehabilitation and recovery medical

treatment.” Id. ¶ 89. Ms. Kelso alleges that denial of advanced

sick leave “resulted in her taking leave without pay,” and was

based on “her alleged ‘pattern of absence and her inability to

earn leave and . . . accrue any leave.’” Id. ¶¶ 92–93. The R. &

R. analyzed this claim as a request for a reasonable

accommodation, see R. & R., ECF No. 19 at 18–19; but Ms. Kelso’s


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objections and supplemental brief claim the denial of advanced

sick leave constitutes an adverse employment action under Title

VII, see Pl.’s Objs., ECF No. 20 at 7–8; Pl.’s Supp., ECF No. 29

at 3–4. Defendant’s response focuses on Plaintiff’s failure to

allege a “significant” financial harm connected to the denial.

See Def.’s Opp’n, ECF No. 22 at 22.

        Once again, Defendant’s argument is now obsolete, and its

supplemental brief fails to provide any authority asserting that

the denial of advanced sick leave and/or being required to take

LWOP does not affect the terms, conditions, or privileges of Ms.

Kelso’s employment. Much like Ms. Kelso’s claims regarding AWOL,

she alleges that the denial of advanced sick leave resulted in a

loss of pay. Compl., ECF No. 1 ¶ 92. This action has an explicit

effect on the conditions and privileges of Ms. Kelso’s

employment, and regardless of the unpaid time alleged, any

discriminatory loss of pay or denial of benefits is precisely

the type of harm Title VII targets. Greer v. Paulson, 505 F.3d

1306, 1317–18 (D.C. Cir. 2007). 13

        Accordingly, the Court concludes that the denial of

advanced sick leave here constitutes an adverse employment

action, and this claim survives Defendant’s Motion to Dismiss.




13Defendant’s responses to Ms. Kelso’s objections to the R. & R.
do not argue that she failed to show that the denial of her
advanced sick leave was because of her disability.


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           B. Retaliation Under Title VII and the Rehabilitation Act

        “In order to prevail upon a claim of unlawful retaliation,

an employee must show she engaged in protected activity, as a

consequence of which her employer took a materially adverse

action against her.” Taylor v. Solis, 571 F.3d 1313, 1320 (D.C.

Cir. 2009) (quoting Weber v. Battista, 494 F.3d 179, 184 (D.C.

Cir. 2007) (internal quotations omitted)). 14 Concluding that the

alleged incidents underlying Ms. Kelso’s retaliation claim were

the same as the alleged discriminatory incidents, the R. & R.

found that Ms. Kelso again “failed to plead an adverse

employment action and therefore also fails to state a claim for

retaliation.” R. & R., ECF No. 19 at 15. 15

        In addition to her objections to the adverse employment

action findings, Ms. Kelso argues that the R. & R. failed to

consider “direct evidence of retaliation,” including Mr.

Troncoso’s inquiry regarding whether her request for “official

time” was related to her Equal Employment Opportunity (“EEO”)

case. Pl.’s Objs., ECF No. 20 at 8. In response, Defendant

argues that Mr. Troncoso’s inquiry was “entirely appropriate”


14 Notably, the Court in Chambers distinguished discrimination
claims from retaliation claims and did not change how courts
determine whether an alleged action was “materially adverse” to
state a claim for retaliation. See Chambers, 35 F.4th at 876–78.
Neither party objects to the standard or case law used in the R.
& R.
15 Since the Court concluded that some of the alleged incidents

constitute adverse employment actions for discrimination,


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and “was not made in connection with any action that could be

considered retaliatory against Plaintiff.” Def.’s Opp’n, ECF No.

22 at 17.

        Regardless of whether each of the alleged incidents are

“materially adverse,” it is clear to the Court that Ms. Kelso’s

Complaint fails to allege that any of the incidents were

consequences of her EEO activity. “A plaintiff may prove causal

relation either through direct evidence or by circumstantial

evidence, such as temporal proximity between the protected

activity and the adverse employment action.” Lane v. Vasquez,

961 F. Supp. 2d 55, 67 (D.D.C. 2013). Ms. Kelso initiated

contact with the Equal Opportunity Employment Commission

(“EEOC”) in May 2014 and filed her formal complaint in August

2013. Compl., ECF No. 1 ¶ 13. 16 While she alleges that her

supervisors knew of her EEO activity, see id. ¶ 14; there are no

alleged facts suggesting that the enumerated incidents were

because of her EEO activity. Even when the Court looks at the

temporal proximity between the incidents and Ms. Kelso’s EEO

activity, the Court fails to see any plausible connection. In

fact, some of the alleged incidents occurred before Ms. Kelso

even initiated contact with the EEOC, such as the issuance of


16While the Complaint states that Ms. Kelso filed her formal EEO
complaint in August 2013, which the Court takes as true, taking
the other dates in context, it appears as though this is a typo
in the Complaint.


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the LOI, AWOL charge, denial of her request for full-time

telework, and change in her work schedule. See id. ¶¶ 27, 44,

47. 17 Without any facts allowing the Court to at least plausibly

infer a causal connection between the materially adverse action

and her EEO activity, Ms. Kelso’s Complaint falls short of

stating a claim for retaliation.

        Ms. Kelso’s argument that Mr. Troncoso’s inquiry

constitutes direct evidence of retaliation fairs no better. In

support of her argument, Ms. Kelso points the Court to Lane, 961

F. Supp. 2d at 75, and Hampton v. Vilsack, 760 F. Supp. 2d 38,

53 (D.D.C. 2011). In Lane, the court found direct evidence of

retaliation where there was evidence that the defendant-employer

did not want to hire the plaintiff because he filed an EEO

complaint. Lane, 961 F. Supp. 2d at 75 (denying the defendant-

employer’s motion for summary judgment). Similarly, in Hampton,

the plaintiff alleged that he was denied a work assignment

“because of his EEO complaint.” Hampton, 760 F. Supp. 2d at 53

(finding direct evidence and denying the defendant-employer’s

motion for summary judgment). Here, Ms. Kelso does not allege

that Mr. Troncoso’s question is tied to any of the alleged

incidents in the Complaint. There can be no retaliation claim




17Ms. Kelso does not argue that the R. & R. missed any alleged
incidents that could plausibly state a claim for retaliation.
Accordingly, the Court reviews only those enumerated incidents.


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where the plaintiff fails to allege an employer took an adverse

action.

     For these reasons, the Court adopts the R. & R.’s

recommendation in part, agreeing with Magistrate Judge Faruqui’s

recommendation to dismiss Ms. Kelso’s retaliation claims.

          C. Failure to Accommodate Under the Rehabilitation Act

     Ms. Kelso asserts that Defendant denied her request for

four different accommodations: (1) full-time telework; (2) a

start time of 7:15 a.m.; (3) a maxiflex schedule; and (4) eighty

hours of advanced sick leave. See Compl., ECF No. 1 ¶¶ 141–143;

R. & R., ECF No. 19 at 16.

     “To state a claim for failure to accommodate, a plaintiff

must allege facts sufficient to show that (1) he had a

disability within the meaning of the ADA; (2) his employer had

notice of his disability; (3) he could perform the essential

functions of the position with reasonable accommodation; and (4)

his employer refused to make such accommodation.” Hodges v.

District of Columbia, 959 F. Supp. 2d 148, 153–54 (D.D.C. 2013)

(citing Gordon v. District of Columbia, 480 F. Supp. 2d 112, 115

(D.D.C. 2007)). The R. & R. concluded, without objection, that

the first two elements are undisputed. R. & R., ECF No. 19 at

16. Magistrate Judge Faruqui further concluded that Ms. Kelso’s

alleged requests did not amount to denied requests for




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reasonable accommodations and recommended dismissal of her

failure to accommodate claims. See id. at 16–18.

     The Court adopts Magistrate Judge Faruqui’s conclusions in

the R. & R. in part, and grants Defendant’s Motion to Dismiss

Ms. Kelso’s failure to accommodate claims with the exception of

Ms. Kelso’s claim that she was denied the reasonable

accommodation of a maxiflex schedule. The Court addresses Ms.

Kelso’s objections and Defendant’s responses to each alleged

failure to accommodate below.

               1. Full-Time Telework

     Magistrate Judge Faruqui concluded that Defendant was not

required to grant Ms. Kelso’s request for full-time telework

because many of her duties admittedly required her to be in the

office. See id. at 16–17. Ms. Kelso argues that this was an

“improper finding of fact” because her Complaint alleged that

“she was able to perform the essential functions of her job with

[telework].” Pl.’s Objs., ECF No. 20 at 9.

     The Court concludes that Defendant’s denial of full-time

telework does not constitute the denial of a reasonable

accommodation. Magistrate Judge Faruqui did not make improper

“findings of fact.” Rather, he accepted all of Ms. Kelso’s

allegations as true, made the reasonable inferences therefrom,

and determined that she failed to allege that it was

unreasonable for Defendant to conclude that at least some of Ms.


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Kelso’s essential duties could not be performed away from the

office. See R. & R., ECF No. 19 at 16–17. The Court is not

required to accept as true Ms. Kelso’s conclusory statements

that she could perform all of her duties remotely when “such

inferences are unsupported by the facts set out in the

complaint.” Trudeau v. Fed. Trade Comm’n, 456 F.3d 178, 193

(D.C. Cir. 2006). The Complaint clearly establishes that not all

of Plaintiff’s duties could be done remotely; thus, it was a

reasonable conclusion that full-time telework would not be a

reasonable accommodation. See Compl., ECF No. 1 ¶ 21.

     Therefore, the Court adopts Magistrate Judge Faruqui’s

conclusion that Ms. Kelso failed to state a claim for failure to

accommodate based on Defendant’s denial of full-time telework.

               2. Preferred Hourly Schedule

     Ms. Kelso’s Complaint alleges that Defendant’s denial of

her requested start time of 7:15 a.m. constitutes a failure to

accommodate. Id. ¶¶ 36–37. Noting that Defendant gave Ms. Kelso

the option of starting at 8:00 a.m. rather than 7:15 a.m., the

R. & R. concluded that Ms. Kelso “[did] not allege any facts to

suggest that the 8:00 a.m. start time was not a reasonable

accommodation or that she refused this option.” R. & R., ECF No.

19 at 17. Therefore, there was no failure to accommodate. Id.

Ms. Kelso objects on the grounds that she did in fact




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“characterize[] the 8:00 a.m. start time as a denial of her

accommodation.” Pl.’s Objs., ECF No. 20 at 10.

        The Court concludes that Ms. Kelso’s objection is

meritless. While there are conflicting alleged facts as to

whether Defendant denied Ms. Kelso’s request to begin her

workday at 7:15 a.m., 18 the Court agrees with the Magistrate

Judge’s conclusion that Ms. Kelso failed to allege any facts

indicating that a start time of forty-five minutes later was not

a reasonable alternative accommodation. “[A]n employer is not

required to provide an employee that accommodation he requests

or prefers, the employer need only provide some reasonable

accommodation.” Aka v. Wash. Hosp. Ctr., 156 F.3d 1284, 1305

(D.C. Cir. 1998) (quoting Gile v. United Airlines, Inc., 95 F.3d

492, 499 (7th Cir. 1996)). Finding that Ms. Kelso’s pleadings

fall short, the Court adopts the recommendation that the 8:00

a.m. start time does not constitute a denial of a reasonable

accommodation.




18As the R. & R. notes, the LOI grants Ms. Kelso’s request to
set her workday to begin at 7:15 a.m. Ex. A, ECF No. 9-2 at 25.
However, Ms. Kelso alleges that this request was later denied.
Compl., ECF No. 1 ¶ 42. Even though the Court may consider the
LOI, see supra note 8, the Court takes as true her allegation
that this request was later denied. However, notably, “[a]n
underlying assumption of any reasonable accommodation claim is
that the plaintiff-employee has requested an accommodation which
the defendant-employer has denied.” Flemmings v. Howard Univ.,
198 F.3d 857, 861 (D.C. Cir. 1999).


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               3. Denial of Maxiflex Schedule

     The R. & R. concluded that Ms. Kelso failed to allege facts

supporting a conclusion that her request to return to her pre-

injury maxiflex schedule was related to her disability. See R. &

R., ECF No. 19 at 17–18. Thus, “Defendant’s denial of this

request was [ ] not a denial of a request for a reasonable

accommodation based on Plaintiff’s disability.” Id. at 18. Ms.

Kelso objects to this conclusion, arguing that her pleadings

“stated that the request was a reasonable accommodation.” Pl.’s

Objs., ECF No. 20 at 10. In response, Defendant argues this

statement is insufficient—that “the claim is properly dismissed

without some factual allegation that the request was relevant to

a qualified disability.” Def.’s Opp’n, ECF No. 22 at 27.

     Ms. Kelso’s factual allegations are sparse as to her

request for a maxiflex schedule. However, Ms. Kelso does allege

that she “email[ed] [Mr.] Troncoso requesting reasonable

accommodations (5/4/9 Maxiflex schedule with a tour of duty from

6:00 am to 3:30 pm as it was prior to her injury) which [Mr.]

Troncoso denied.” Compl., ECF No. 1 ¶ 60. Taking Ms. Kelso’s

allegation that she requested the maxiflex schedule as a

reasonable accommodation as true, it is entirely plausible that

the email conveyed such. Evans v. Davis Mem’l Goodwill Indus.,

133 F. Supp. 2d 24, 28 (D.D.C. 2000) (quoting Taylor v.

Phoenixville Sch. Dist., 184 F.3d 296, 313 (3d Cir. 1999))


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(concluding the important question is whether a defendant “can

be fairly said to know of both the disability and desire for an

accommodation”). Accordingly, this claim survives Defendant’s

Motion to Dismiss.

               4. 80 hours of LWOP

     Finally, Ms. Kelso alleges that Defendant’s denial of her

request for eighty hours of advance sick leave—requiring her to

take eighty hours of LWOP—was a failure to accommodate. Noting

that plaintiffs often request LWOP as a reasonable accommodation

in itself, the R. & R. concluded that Ms. Kelso “fail[ed] to

plead any facts to suggest why this grant of LWOP status was

anything other than a grant of a reasonable accommodation.” R. &

R., ECF No. 19 at 18–19. Ms. Kelso objects, arguing again, that

Magistrate Judge Faruqui’s conclusion was based on improper

“findings of fact, and not based on Plaintiff’s pleadings.”

Pl.’s Objs., ECF No. 19 at 11. Further, Ms. Kelso attempts to

make a distinction between her leave status being defaulted to

LWOP when she was not granted advanced sick leave and the R. &

R.’s interpretation that she was “granted” LWOP. Id.

     The Court agrees with Defendant that this distinction is

irrelevant. Again, the issue is not whether Ms. Kelso was

granted the exact accommodation she requested, but whether she

was denied a reasonable accommodation at all. See Aka, 156 F.3d

at 1305. Ms. Kelso has failed to plead any facts showing that


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defaulting her to LWOP was an unreasonable accommodation. See

Morris v. Jackson, 994 F. Supp. 2d 37, 47 (D.D.C. 2013) (“The

plaintiff bears the burden to show that the requested

accommodation is reasonable on its face – the sort of

accommodation that normally occurs.”). Moreover, Ms. Kelso does

not allege nor cite to any authority that employees are entitled

to advanced sick leave or that other, similarly situated

employees, have been granted advanced sick leave.

     Accordingly, the Court dismisses Ms. Kelso’s claim that the

denial of advanced sick leave constituted the denial of a

reasonable accommodation.

        D. Hostile Work Environment Under Title VII and the
           Rehabilitation Act

     Recommending dismissal of Ms. Kelso’s hostile work

environment claims, Magistrate Judge Faruqui concluded that the

alleged conduct by Defendant did not rise to the level of

“severe or pervasive” conduct required to state a claim. Ms.

Kelso’s sole objection to this recommendation is that she

“alleged an objectively hostile work environment” and “whether

[her allegations] rose to the level of a Hostile Work

Environment is a finding of fact not made at the pleading

stage.” Pl.’s Objs., ECF No. 20 at 11–12. Magistrate Judge

Faruqui did not, however, make “findings of fact.” Rather, he

accepted all of Plaintiff’s allegations as true, made the



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reasonable inferences therefrom, and determined that the facts

alleged by Ms. Kelso did not amount to the severe or pervasive

behavior required to sustain a hostile work environment claim.

See R. & R., ECF No. 19 at 19–21. Ms. Kelso’s objection is a

general objection merely objecting on ground that she did state

a claim for relief. Pl.’s Objs., ECF No. 20 at 11–12.

Accordingly, the Court reviewed this portion of the R. & R. for

clear error. Finding none, the Court adopts Magistrate Judge

Faruqui’s recommendation to dismiss Ms. Kelso’s hostile work

environment claims.

  IV.   Conclusion

     For the foregoing reasons, the Court ADOPTS Magistrate

Judge Faruqui’s Report and Recommendation in part, ECF No. 19,

and GRANTS IN PART and DENIES IN PART Defendant’s Motion to

Dismiss, ECF No. 9.    Ms. Kelso may proceed on the following

claims: (1) the alleged discriminatory denial of advanced sick

leave; (2) the alleged discriminatory removal of duties; (3) the

alleged discriminatory AWOL charge; and (4) the alleged denial

of a maxiflex schedule as a reasonable accommodation.

     In her Objections to the Report and Recommendation and in

her supplemental filing, Ms. Kelso requests the opportunity to

move to amend her Complaint, if necessary, based on the Court’s

ruling on her Objections. See Pl.’s Objs., ECF No. 20 at 1 n.1;

Pl.’s Supp., ECF No. 29 at 4. Defendant does not oppose this


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request. See generally Def.’s Opp’n, ECF No. 22; Def.’s Supp.,

ECF No. 27. In view of Chambers, and the lack of Defendant’s

opposition to the request, the Court will allow Ms. Kelso to

move to amend her Complaint within 14 days of the issuance of

this Memorandum Opinion and the accompanying Order.

     A separate Order accompanies this Memorandum Opinion.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          December 18, 2024




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